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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             Case No. 17-cv-81162-BLOOM/Reinhart

  JUAN TORRES and
  ALEJANDRO TORRES,

         Plaintiffs,

  v.

  FIRST TRANSIT, INC.,

        Defendant.
  _________________________/

                                               ORDER

         THIS CAUSE is before the Court upon Defendant First Transit, Inc.’s Motion for New

  Trial and Remittitur, ECF No. [137] (the “Motion”). The Court has reviewed the Motion, all

  supporting and opposing submissions and exhibits, the record, and the applicable law, and is

  otherwise fully advised. For the reasons set forth below, Defendant’s Motion is denied.

         I. BACKGROUND

         This case arises from an automobile accident that occurred on September 30, 2017.

  Defendant admitted liability. Following a three-day jury trial commencing on November 6, 2018

  on the issue of damages, the jury returned verdicts in favor of each Plaintiff. As to Plaintiff

  Alejandro Torres, the jury awarded past medical expenses ($396,261.13), past pain and suffering

  ($600,000.00), and future pain and suffering ($1,500,000.00). As to Plaintiff Juan Torres, the

  jury awarded past medical expenses ($877,604.38), past pain and suffering ($1,050,000.00), and

  future pain and suffering ($3,000,000.00). ECF No. [109]. On November 13, 2018, the Court
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  entered Final Judgement in favor of the Plaintiffs for a total award of $7,423,855.51. ECF No.

  [4].

         On December 11, 2018, Defendant filed the present Motion for New Trial, or, in the

  alternative, that remittitur be awarded, based on juror non-disclosure of prior litigation history

  and because the jury awards for past medical expenses and future pain and suffering are against

  the weight of the evidence.

         II. LEGAL STANDARD

         Among other relief, a court may grant a new jury trial under Rule 59 “for any reason for

  which a new trial has heretofore been granted in an action at law in federal court.” Fed. R. Civ.

  P. 59(a). For instance, a party may assert that “the verdict is against the weight of the evidence,

  that the damages are excessive, or that, for other reasons, the trial was not fair to the party

  moving.” Montgomery Ward & Co. v. Duncan, 311 U.S. 243, 251 (1940). Thus, a motion for

  new trial should be granted “when the verdict is against the clear weight of the evidence or will

  result in a miscarriage of justice, even though there may be substantial evidence which would

  prevent the direction of a verdict.” Brown v. Sheriff of Orange Cnty., Fla., 604 F. App’x 915

  (11th Cir. 2015) (per curiam) (quoting Lipphardt, 267 F.3d at 1186); see Tucker v. Hous. Auth. of

  Birmingham Dist., 229 F. App’x 820, 826 (11th Cir. 2007) (“[N]ew trials should not be granted

  on evidentiary grounds unless, at a minimum, the verdict is against the great – not merely the

  greater – weight of the evidence.”);

          “[G]ranting motions for new trial touches on the trial court’s traditional equity power to

  prevent injustice and the trial judge’s duty to guard the integrity and fairness of the proceedings

  before [her].” Sherrod v. Palm Beach Cnty. Sch. Dist., 237 F. App’x 423, 424 (11th Cir. 2007)

  (quoting Christopher v. Florida, 449 F.3d 1360, 1366 n.4 (11th Cir. 2006)). Ultimately,



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  “motions for a new trial are committed to the discretion of the trial court.” Montgomery v. Noga,

  168 F.3d 1282, 1295 (11th Cir. 1999); Steger, 318 F.3d at 1081 (citing Deas v. PACCAR, Inc.,

  775 F.2d 1498, 1503 (11th Cir. 1985)) (“A district court is permitted wide discretion in

  considering a motion for new trial based on an erroneous jury instruction.”).

         III. DISCUSSION

                 A. Juror Misconduct

         Defendant contends that two jurors, by the initials YC and ES (“Juror YC” and “Juror

  ES”), concealed material facts during voir dire necessitating a new trial. To obtain a new trial

  based on a juror's failure to accurately answer a question in voir dire, Defendant must “first

  demonstrate that a juror failed to answer honestly a material question on voir dire, and then

  further show that a correct response would have provided a valid basis for a challenge for cause.”

  McDonough Power Equip., Inc. v. Greenwood, 464 U.S. 548, 556 (1984). Further, “[t]he

  motives for concealing information may vary, but only those reasons that affect a juror's

  impartiality can truly be said to affect the fairness of a trial.” Id. In other words, “[t]he second

  prong [of the McDonough test], that a correct response would have provided a valid basis for a

  challenge for cause, requires a showing of actual bias.” BankAtlantic v. Blythe Eastman Paine

  Webber, Inc., 955 F.2d 1467, 1473 (11th Cir. 1992) (citing U.S. v. Perkins, 748 F.2d 1519, 1532

  (11th Cir. 1984); U.S. v. Casamayor, 837 F.2d 1509, 1515 (11th Cir. 1988)).

         Here, jurors completed a jury questionnaire, which included question 10, stating: “If you

  and/or a close family member or friend has ever been a party to a lawsuit (i.e., sued someone or

  been sued by someone) please describe the circumstances.” ECF No. [141-1]. Juror YC

  responded “N/A” and Juror ES responded “No.” Id.; ECF No. [141-3]. Additionally, during

  voir dire, potential jurors were asked: “Is there anyone that has been involved in a civil lawsuit



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  that has shaped your view either negatively or positively about the legal system that you believe

  would have an effect on your ability to serve as a fair and impartial juror?” ECF No. [124] at

  34:1-5. No jurors responded in the affirmative. Id. at 34:6-7.

          Defendant contends that based on information learned in its post-trial investigation, Juror

  YC and Juror ES concealed material facts during voir dire. Defendant’s investigation discovered

  that Juror YC and Juror ES had been named defendants in prior cases. Specifically, Defendant

  provided court documents demonstrating that Juror YC had been sued three times by banks to

  recover debts, twice in foreclosure, and once by the State of Florida 1. See ECF No. [141-2].

  Juror ES was involved in one foreclosure, one action by a condominium association to recover

  unpaid assessments, three cases involving debt collection, and a personal bankruptcy. 2 See ECF

  No. [141-4]. Defendant argues that the responses of Juror YC and Juror ES to question 10 of the

  juror questionnaire and their silence in response to the oral question concerning prior litigation

  history amount to a failure to honestly answer a material question.

                               1. Dishonesty

          Under the first prong of the McDonough test, the Court must determine whether a juror

  failed to answer honestly a material question on voir dire. Plaintiff argues that Defendant has

  failed to demonstrate that the Jurors’ answers were dishonest. Plaintiff specifically addresses

  question 10 of the juror questionnaire, arguing that the question is ambiguous because it defines

  being “a party to a lawsuit” as having “sued someone or been sued by someone.” Because each

  lawsuit Defendant identified in the litigation history of Juror YC and Juror ES was initiated by a


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   In the action brought by the State of Florida, the claims and the facts of the case are not discernable from
  Defendant’s submission.
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    For the purpose of this Order, the Court will accept that the litigation history submitted by Defendant
  belongs to Juror ES, despite Plaintiff’s contention that the filings could refer to Juror ES’s father who has
  the same name.

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  corporation, not an individual, the Plaintiff contends that the jurors could have believed that they

  had not been sued by someone. The record evidence presented by the Defendant certainly

  supports the Plaintiffs’ argument. However, for purposes of the Motion and further analysis, the

  Court will assume that the Jurors’ answers on the juror questionnaire were dishonest. See

  BankAtlantic, 955 F.2d 1467, 1473 (11th Cir. 1992) (affirming denial of motion for new trial for

  failure to show actual bias where district court assumed that jurors’ non-disclosure during voir

  dire was dishonest).

          The Court cannot find, however, that Jurors YC’s and ES’s silence when questioned

  during voir dire amounts to dishonesty. Jurors were asked: “Is there anyone that has been

  involved in a civil lawsuit that has shaped your view either negatively or positively about the

  legal system that you believe would have an effect on your ability to serve as a fair and impartial

  juror.” First, merely being involved in prior litigation does not necessarily shape one’s view

  about the legal system. Second, to the extent that a juror’s litigation history did shape his or her

  view of the legal system, it certainly does not necessarily follow that the juror believes that it has

  affected his or her ability to serve as a fair and impartial juror. The Court will not engage in

  second-guessing this kind of opinion-based juror expression which could only be speculated to

  be dishonest, nor is the Court required to hold an evidentiary hearing to investigate the issue

  further. See New v. Darnell, 409 F. App'x 281, 284 (11th Cir. 2011) (“To justify a post-trial

  hearing involving the trial's jurors, a moving party must do more than speculate; he must show

  clear, strong, substantial and incontrovertible evidence that a specific, nonspeculative

  impropriety has occurred.”) (internal quotations omitted). 3



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    Even if the Court were to conclude that Juror YC’s and Juror ES’s failure to disclose their respective
  litigation history in response to the oral question during voir dire amounted to dishonesty, a new trial
  would not be warranted because Defendant has failed to satisfy the second prong of the McDonough test.
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                             2. Actual Bias

         To satisfy the second prong, there must be a showing “of bias that would disqualify the

  juror.” United States v. Carpa, 271 F.3d 962, 967 (11th Cir. 2001). “Bias may be shown either

  by express admission or by proof of specific facts showing such a close connection to the

  circumstances at hand that bias must be presumed.” Id. Defendant argues that Juror YC’s and

  Juror ES’s concealment of their respective “histories of being sued by large financial entities for

  non-payment of debt would readily be perceived as likely to sympathize with Plaintiffs in their

  pursuit of money damages from First Transit” due to the “‘David versus Goliath’ atmosphere” of

  the case. ECF No. [137] at 5. Defendant further contends that because “Plaintiffs’ entitlement to

  recover the full amount of their hospital bills, notwithstanding a hospital’s potential right of

  subrogation” was at issue during trial, “jurors who had been repeatedly sued for non-payment of

  a debt” are reasonably likely to be biased in favor of Plaintiffs. Id. at 5-6.

         Defendant has failed to demonstrate bias. Defendant has not alleged that Juror YC or ES

  expressly admitted to being biased. Nor has Defendant presented specific facts showing such a

  close connection to the litigation at hand that bias must be presumed.

         In New v. Darnell, the plaintiff/appellant moved for a new trial in a gender discrimination

  case claiming a juror had not given truthful answers during voir dire. 409 F. App'x 281, 284

  (11th Cir. 2011). Appellant contended that a juror had failed to disclosure a charge of racial

  discrimination that had been filed with the EEOC in which the juror was named as the supervisor

  of the filer. Id. at 382. Concluding that the second McDonough requirement was not met, the

  Eleventh Circuit stated that “[t]here is not such a close connection between the two forms of

  discrimination that, taking into account [the juror’s] uncertain role in the alleged discrimination,

  bias must be presumed.” Id. at 284. Similarly, other courts in this District and elsewhere within



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  the Eleventh Circuit have found failure to demonstrate a close connection to the litigation at hand

  where jurors did not disclose prior involvement in litigation. See, e.g., U.S. v. Burke, No. 13-

  20616-CR, 2016 WL 7665899, at *3 (S.D. Fla. Oct. 4, 2016) (“the jurors’ allegedly undisclosed

  bankruptcies, foreclosures, and short-sale mortgage transactions, if true, would not demonstrate

  such a close connection to the mortgage-fraud scheme of this case that bias could be presumed”),

  aff'd, 724 F. App'x 837 (11th Cir. 2018); Myers v. Cent. Fla. Investments, Inc., No. 604-CV1542-

  ORL-28DAB, 2008 WL 4710898, at *21 (M.D. Fla. Oct. 23, 2008) (rejecting argument that

  juror with history of personal injury/automobile negligence claim could be expected to be

  sympathetic to plaintiff bringing sexual harassment and battery claims considering that both

  sought recovery for pain and suffering); see also U.S. v. Hampton, No. 3:10-CR-67-J-PAM-JRK,

  2011 WL 13175098, at *2 (M.D. Fla. Apr. 4, 2011) (finding no close connection to criminal case

  that “one prospective juror had served as a law enforcement officer on a sheriff's posse, that

  another was also a former law enforcement …, that another had two sons who were correctional

  officers, and that another had sat on two panels that rendered guilty verdicts in criminal cases

  …”), aff'd, 484 F. App'x 363 (11th Cir. 2012).

         The Court does not find a close connection between this personal injury case stemming

  from a car accident and any of the prior cases in which Juror YC or Juror ES was a party. On the

  surface, there is little to no connection between the present case and a lawsuit by a bank to

  recover a debt, a foreclosure, a lawsuit by a condominium association to recover unpaid

  assessments, or a personal bankruptcy. And the Court is not persuaded by Defendant’s attempt

  to link the present case and the cases in Juror YC’s and Juror ES’s past as involving a “David

  versus Goliath” atmosphere, causing the jurors to be biased against corporations. The Court

  finds little reason to presume that an individual who had been sued by a bank to recover unpaid



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  credit card bills, for example, would be biased against an unrelated corporation such as First

  Transit. An individual’s history of having been sued by corporations bears only a very general

  connection to a case in which an unrelated corporation is a defendant.

          Nor is the Court persuaded by Defendant’s argument that because Plaintiffs’ entitlement

  to recover the full amount of their hospital bills was at issue during trial, jurors who had been

  sued for non-payment of a debt are reasonably likely to be biased in favor of Plaintiffs.

  Defendant argues that jury selection demonstrated that the question of whether jurors could fairly

  try Plaintiffs’ entitlement to recover the full amount of their hospital bills, notwithstanding a

  hospital’s right of subrogation, was a potential issue in this case. But, the purported connection

  between lawsuits for non-payment of a debt and a personal injury case in which a jury must

  determine the reasonableness of Plaintiffs’ medical bills is distant, and certainly far more

  attenuated than the connection between a gender discrimination claim and racial discrimination

  claim that the Eleventh Circuit considered in Darnell. Moreover, there is no evidence that

  Jurors YC or ES had a motive to intentionally omit from their jury questionnaire that they had

  been defendants in lawsuits for recovery of debts so that they could serve on a jury to award

  Plaintiffs the full amount of their medical bills, particularly given that jurors completed the

  questionnaires before they were made aware of this potential issue. BankAtlantic, 955 F.2d at

  1473 (finding no bias where jurors had no “motive to conceal information just to get on the jury

  and find against [plaintiff]”). 4

          Additionally, this Court questioned all the potential jurors as to whether they could serve

  as fair and impartial jurors and specifically addressed the issue of potential bias against



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   The Court need not consider Plaintiffs’ arguments that Defendant waived its right to challenge the
  alleged non-disclosure or that there is no proof that the Defendant would have challenged the jurors for
  cause if they had disclosed their litigation histories.
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  corporations. The Court asked the panel whether anyone felt that they could not serve as a fair

  and impartial juror. ECF No. [124] at 27:2-6. The Court asked the panel whether there was

  anyone that could not follow the law after hearing what the burden of proof was in this case. Id.

  at 31:5-8. The Court asked the panel whether there is anyone that has a belief, a feeling, or an

  attitude about corporation, either for them or against them, that might cause you to treat a

  corporation differently from an individual. Id. at 124:9-15. Neither Juror YC or ES answered in

  the affirmative to any of these questions. Accordingly, the record indicates the Jurors YC and

  ES were willing and able to be fair and impartial in this case and Defendant has failed to show

  any actual bias. See Morales v. Merco Grp., Inc., No. 09-cv-22554, 2011 WL 3666605, at *4

  (S.D. Fla. Aug. 22, 2011) (denying motion for new trial where plaintiff failed to show actual bias

  and the court questioned jurors on issues concerning their ability to be fair and impartial”).

                 B. The Verdict is Not Against the Great Weight of the Evidence

         In a diversity action, the Court looks to state substantive law to determine whether a

  verdict is excessive. Roboserve, Ltd. v. Tom's Foods, Inc., 940 F.2d 1441, 1446 (11th Cir. 1991).

  Under Florida law, “[a] party who assails the amount of a verdict as being excessive, has the

  burden of showing it is unsupported by the evidence, or that the jury was influenced by passion

  or prejudice.” Bould v. Touchette, 349 So. 2d 1181, 1184 (Fla. 1977) (internal quotation

  omitted). Florida Statutes Section 768.043 (2018), which governs remittitur in cases arising

  from the operation of motor vehicles states, in pertinent part:

         In any action for the recovery of damages based on personal injury or wrongful
         death arising out of the operation of a motor vehicle, . . . wherein . . . a verdict is
         rendered which awards money damages to the plaintiff, it shall be the
         responsibility of the court, upon proper motion, to review the amount of such
         award to determine if such amount is clearly excessive or inadequate in light of
         the facts and circumstances which were presented to the trier of fact. If the court
         finds that the amount awarded is clearly excessive or inadequate, it shall order a
         remittitur or additur, as the case may be. If the party adversely affected by such

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          remittitur or additur does not agree, the court shall order a new trial in the cause
          on the issue of damages only.

   Fla. Stat. § 768.043(1).

          Here, Defendant challenges the amount of the jury’s award to Plaintiffs for past medical

   expenses and future pain and suffering. Specifically, Defendant takes issue with the jury’s award

   of the full amount of each Plaintiffs’ medical bills from Delray Medical Center —$669,779.21 as

   to Juan Torres and $356,744.81 as to Alejandro Torres. Additionally, the jury awarded

   Alejandro Torres $1.5 million and Juan Torres $3 million in future pain and suffering.

                              1. Past Medical Expenses

          Defendant argues that Plaintiffs failed to meet their burden to prove the reasonableness and

   necessity of the Delray Medical Center bills. Defendant contends the only evidence before the

   jury concerning the reasonableness of the Delray Medical Center bills was the expert testimony of

   Dr. Zeide, opining that a reasonable charge for the hospital services would have been 15% of the

   charged amounts. Defendant concedes that a plaintiff’s testimony that medical bills were incurred

   as a result of an injury will suffice to allow the bills into evidence but insists that a plaintiff’s

   testimony may only link the medical treatment to the injuries resulting from the accident, not show

   the reasonableness of the amount of the medical bills. ECF No. 152 at 9-10. The Court disagrees.

          The Florida Supreme Court in Garrett v. Morris Kirschman & Co. concluded that the

   plaintiff’s testimony alone “made it a question for the jury to decide . . . whether [medical] bills

   represented reasonable and necessary expenses.” 336 So. 2d 566, 571 (Fla. 1976). Applying the

   holding in Garrett, courts have found that the introduction of medical bills combined with

   testimony linking the medical bills to the accident at issue is sufficient to establish the

   reasonableness of the bills. See, e.g., Walerowicz v. Armand-Hosang, 248 So. 3d 140, 144-45 (Fla.

   4th DCA 2018) (plaintiff’s testimony describing the treatment for which the bills were incurred

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   and relating that treatment to the injuries sustained, the surgeon’s testimony, and introduction of

   the medical bills were sufficient to establish reasonableness of bills); Polaco v. Smith, 376 So. 2d

   409, 409–10 (Fla. 1st DCA1979) (plaintiff’s testimony “that she had incurred all of the medical

   bills as a result of the accident … alone was sufficient predicate for allowing the jury to resolve

   the question of whether the medical bills were reasonable or necessary”); Easton v. Bradford, 390

   So.2d 1202 (Fla. 2d DCA 1980) (“the trial judge properly placed the question of the necessity and

   reasonableness of the charges within the purview of the jury” in light of plaintiff’s testimony

   relating the treatment to the accident).

           Here, Defendant does not dispute that Plaintiff established that the medical bills were

   related to the subject accident. Rather, as Defendant states, “[t]he issue here is the reasonableness

   of the charges for which Delray billed.” ECF No. [152] at 10 (emphasis in original). That issue

   was for the jury, who was free to give Dr. Zeide’s testimony as much or as little weight as it deemed

   appropriate. Accordingly, the jury’s award of the full amount of the Delray Medical Center bills

   was supported by the evidence at trial.

                               2. Future Pain and Suffering Damages

           Defendant argues that the jury award for future pain and suffering is excessive, bears no

   relationship to the evidence presented, and is necessarily the product of passion or prejudice. 5 A

   “new trial should be ordered only where the verdict is so excessive as to shock the conscience of

   the court.” Goldstein v. Manhattan Indus., Inc., 758 F.2d 1435, 1447 (11th Cir. 1985).

   Moreover, “[d]amages for pain and suffering are difficult to calculate, have no set standard of

   measurement, and for this reason are uniquely reserved to a jury for their decision.” Pogue v.



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     Defendant concedes that Plaintiffs are entitled to an award for future pain and suffering, acknowledging
   that Defendant’s counsel suggested to the jury an award of $350,000 for Alejandro Torres and $600,000
   for Juan Torres at trial.
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   Garib, 254 So. 3d 503, 507 (Fla. 4th. DCA 2018) (internal quotation omitted).

          Here, Plaintiffs each provided testimony of the nature of their respective injuries, how the

   injuries have affected their lives, and their condition at the time of trial. Based on the evidence

   presented to the jury, it was reasonable for the jury to conclude that Plaintiffs would continue to

   suffer from their injuries in the future. See Sullivan v. Price, 386 So. 2d 241, 244 (Fla. 1980)

   (holding that “the jury could have concluded with reasonable certainty that the injury’s

   consequences would continue into the future” based on “evidence of the nature of [plaintiff]'s

   injury, its duration, his resultant demotion, and lack of recovery at the time of trial”). The Court

   does not find that the jury award to Plaintiffs for future pain and suffering was so excessive as to

   shock the conscience of the court.

          IV. CONCLUSION

          Accordingly, it is ORDERED AND ADJUDGED that Defendant First Transit, Inc.’s

   Motion for New Trial and Remittitur, ECF No. [137], is DENIED.

          DONE AND ORDERED in Chambers at Miami, Florida, this 13th day of February, 2019.




                                                         ____________________________________
                                                         BETH BLOOM
                                                         UNITED STATES DISTRICT JUDGE
   Copies to:

   Counsel of Record




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